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+. Case 8:04-cr-00235-RWT Document 1760-1 Filed 03/03/15 Page 3 of 6

CRWET 5490*23 * SENTENCE MONITORING * 02-24-2015
PAGE O01 * COMPUTATION DATA * 11:50:14
AS OF 02-24-2015

cPREGNO

8360-037" NAME “DOBLE

FBI NO..........,.3 334369LA9 DATE OF BIRTH: J ace: so
ARS1.............1 CRW/A-DES

UNIT.............: UNIT 1N QUARTERS.....: HO1-243L
DETAINERS........: NO NOTIFICATIONS: NO

HOME DETENTION ELIGIBILITY DATE: 05-52-2015

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE [S PROJECTED FOR RELEASE: 1])-01-2015 VIA GCT REL

REMARKS........ : RELEASE AUDIT COMPLETED ON 01-13-2015 BY DSCC

wee eee eee eee eee eee eee CURRENT JUDGMENT/WARRANT NO: 010 --------------+--+------

COURT OF JURISDICTION........... : MARYLAND
DOCKET NUMBER............-...+.-.: RWT-04-0235
JUDGE. cc ce ee eee ee et PITUS
DATE SENTENCED/PROBATION IMPOSED: 12-19-2006
DATE COMMITTED. ..............2...1 01-29-2007
HOW COMMITTED. 2... ec ee eee a US DISTRICT COURT COMMITMENT
PROBATION IMPOSED........---+-+-3 NO

FELONY ASSESS MISOMNR ASSESS FINES COSTS
NON-COMMITTEG.: $700.00 $00.00 $00.00 $00.90
RESTITUTION,..: PROPERTY: NC SERVICES: NO AMOUNT: $00.00

we eee eee eet rere een CURRENT OBLIGATION NO: 010 -~--+- 3 ere ewer eer rrr eer ren
OFFENSE CODE....: 409
OFF/CHG: 21:846 CONSPIRACY TO DISTRIBUTE & PWITD CONTROLLED SUBSTANCES,

CT 1; 21:843(8} USE OF A COMMUNICATION DEVICE TO FACILITATE

NARCOTICS TRAFFICKING, CTS 34,47,59,53,S7

SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE

SENTENCE IMPOSED/TIME TO SERVE.: 146 MONTHS

TERM OF SUPERVISION 5 YEARS

NEW SENTENCE IMPOSED........... 86 MONTHS. 20 DAYS:

BASIS FOR CHANGE USSG DRG QNTTY DCSN 11-01-2014
DATE OF OFFENSE................: 05-18-2004

$0002 MORE PAGES TO FOLLOW
Case 8:04-cr-00235-DKC Document 1767-1 Filed 04/01/15 Page 2 of 3

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CRWET 540*23 * SENTENCE MONITORING * 02-24-2015
PAGE 002 * COMPUTATION DATA * 11:50:14
AS OF 02-24-2015

REGNO..: 38360-037 NAME: DOBIE, LAVON

were ene eee eee eee CURRENT OBLIGATION NO; 020 ------------------------ +e

OFFENSE CODE....: 130

OFF/CHG: 18:924(C) POSSESSION OF A PIREARM IN FURTHERANCE OF A DRUG
TRAFFICKING CRIME, CT 61

SENTENCE PROCEDURE...........0- : 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 60 MONTHS
TERM OF SUPERVISION...........53 5S YEARS
RELATIONSHIP OF THIS OBLIGATION

TO OTHERS FOR THE OFFENDER....: CS

DATE OF OFFENSE..........0...2.7 06-01-2004

~ oo - eee - --- ee ee eee CURRENT COMPUTATION NO: 010 ---+-- were ee ener ene ene

COMPUTATION 010 WAS LAST UPDATED ON 01-13-2015 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 01-13-2015 BY DESIG/SENTSNCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 610 010, Q19 920

DATE COMPUTATION BEGAN..........: 12-19-2006
AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA
TOTAL TERM IN EFFECT............ : 156 MONTHS.” 20 DAYS,,:
TOTAL TERM IN EFFECT CONVERTED..:» © 13 YEARS |. 20 DAYS:
AGGREGATED TERM OF SUPERVISION..:” 5 YEARS

EARLIEST DATE OF OFFENSE........ : 05-18-2004

JAIL CREDIT........-0--eee+++2-43 FROM DATE THRU DATE

05-25-2004 12-18-2006

GO00Q02 MORE PAGES TO FOLLOW
Case 8:04-cr-00235-DKC Document 1767-1 Filed 04/01/15 Page 3 of 3

. + >, ‘Case 8:04-cr-00235-RWT Document 1760-1 Filed 03/03/15 Page 5 of 6

CRWET 5S40*23 * SENTENCE MONITORING * 02-24-2015
PAGE 003 OF 003 * COMPUTATION DATA * 12:50:14
AS GF 02-24-2015

REGNOC..: 38360-037 NAME: DOBIE, LAVON

TOTAL PRIOR CREDIT TIME......... : 938

TOTAL INOPERATIVE TIMS..........: 0

TOTAL GCT EARNED AND PROJECTED..: 590

TOTAL GCT EARNED. .....-...-+.+.-! 513

STATUTORY RELEASE DATE PROJECTED: 11-01-2015

EXPIRATION FULL TERM DATE.......: 06-13-2017

TIME SERVED... 0... 02. cee ee ee es : 10 YEARS 39 MONTHS 1 DAYS
PERCENTAGE OF FULL TERM SERVED..: @2.3

PROJECTED SATISFACTION DATE..,...: 11-91-2015

PROJECTED SATISFACTION METHOD...: GCT REL

REMARKS.......: 12-07-12 RECV'D SENTENCE REDUCTION REDUCING TIE FROM 206 MOS

TO 170 MOS. NO OTHER CHANGES NOTED. /B/BM;02-13-15 REC'D ORD
REDUCING TIE FROM 176M TO 152M PURSUANT TO DGA. TIE ADJUSTED
TO REACH TARGET DATE OF 11-01-15 FOR TIE OF 156M,20D B/CMS.

$0655 NO PRIOR SENTENCE DATA EXISTS POR THIS INMATE
